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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                         )        CHAPTER 13
                                               )
JEFFREY KIM DOWDA,                             )        CASE NO: 19-50498-JRS
     Debtor.                                   )

         RESPONSE TO CHAPTER 13 TRUSTEE’S SUPPLEMENTAL REPORT

       COMES NOW, Jeffrey Kim Dowda, the Debtor in the above-styled case and hereby

move this Court to deny the Chapter 13 Trustee’s Supplemental Report.

                                                   1.

       On April 17, 2019 the Chapter 13 Trustee filed a Supplemental Report requesting

dismissal.

                                                   2.

       The Debtor provided his attorney proof of the trustee payments in the amount of

$1,460.00. Debtor has provided his attorney a copy of the business packet for the trustee. Debtor

has also provided copies of his Tx Returns for the last 4 calendar years to his attorney that form

the basis of this supplemental report on April 17, 2019.

       WHEREFORE, based on the foregoing facts, Debtor prays:

             (a) That the supplemental report requesting dismissal be denied;

             (b) That the Court set this matter down for a hearing and;

             (c) For such other relief the Court finds appropriate.

       This the 18th day of April, 2019                 By:

                                                        ____/S/_________________
                                                        Michael R. Rethinger
                                                        Georgia Bar Number 301215
                                                        Attorney for Debtor
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                                CERTIFICATE OF SERVICE

       This is to certify that, by agreement of the parties, Nancy J. Whaley, Standing Chapter 13
Trustee, was served via the ECF electronic mail/noticing system with the foregoing.

       This the 18th day of April, 2019             By:

                                                    ____/S/_________________
                                                    Michael R. Rethinger
                                                    Georgia Bar Number 301215
                                                    Attorney for Debtor
241 Mitchell Street, SW
Atlanta, GA 30303
(770) 922-0066
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